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                EXHIBIT 4
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      More                         @lilrodmadeit's lawsuit, his lawyer @TyroneBlackbu11 laid out a ton of
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                                   evidence that was obviously sufficient for a warrant. I went into it further with
                                   @Shepardambellas in this video:
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                                     That video goes into great detail and shows evidence from the lawsuit. All
                                     this stuff is happening now because of the evidence presented in
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                                     @lilrodmadeit's lawsuit. This image of Brandon Paul with drugs in his
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                                     hands was likely sufficient to obtain an arrest warrant. The other…
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                                   Tyrone Blackburn, Esq. @TyroneBlackbu · Mar 29
                                                                                1
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                                   If I wanted to, I could write 50 pages for the RICO section alone. This pleading
                                   would have been 200+ pages if I included the evidence I have.

                                   The court will grant my leave to amend. UMG will file a motion to dismiss.
                                   Then I will crush them with my opposition.

                                      3                    2               8                    560
